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10                             IN THE UNITED STATES DISTRICT COURT

11                          FOR THE EASTERN DISTRICT OF CALIFORNIA

12                                       SACRAMENTO DIVISION

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       RALPH COLEMAN, et al.,                              2:90-cv-00520 LKK DAD PC
15
                                    Plaintiffs, DEFENDANTS’ JUNE STATUS REPORT
16                                              ON ACTIVATION OF DEPARTMENT OF
                 v.                             STATE HOSPITALS’ PROGRAMS AT
17
                                                THE CALIFORNIA HEALTH CARE
18     EDMUND G. BROWN JR., et al.,             FACILITY

19                                        Defendants. Judge Lawrence K. Karlton
20

21

22          Defendants submit this status report in response to the Court’s March 18, 2014 order to

23     provide monthly updates on the full activation of Department of State Hospitals’ (DSH) mental

24     health programs at the California Health Care Facility (CHCF), Stockton.

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                               Defs.’ June Status Report on DSH Activation at CHCF (2:90-cv-00520 LKK DAD PC)
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 1     Attached as Exhibit A is the current status of DSH programs at CHCF.
 2

 3
       Dated: June 24, 2014                                 Respectfully submitted,
 4
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